Case 24-05385 Doci1 Filed 04/12/24 Entered 04/12/24 17:15:25 Desc Main
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United States Bankruptcy Court for the:

NORTHERN DISTRICT OF ILLINOIS

Case number (if known) Chapter 11

O Check if this an
amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy 06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.

1. Debtor's name Oberweis Dairy, Inc.

2. All other names debtor
used in the last 8 years

Include any assumed
names, trade names and
doing business as names

3. Debtor's federal
Employer identification XX-XXXXXXX

Number (EIN)
4. Debtor's address Principal place of business Mailing address, if different from principal place of
business
951 Ice Cream Drive
North Aurora, IL 60542
Number, Street, City, State & ZIP Code P.O. Box, Number, Street, City, State & ZIP Code
Kane Location of principal assets, if different from principal
County - OO place of business

“Number, Street, City, State & ZIP Code

5. Debtor's website (URL) www. oberweis.com

>

Type of debtor H Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

C) Partnership (excluding LLP)
O) Other. Specify:

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Case number (if known)

Debtor Oberweis Dairy, Inc.
Name
7. Describe debtor's business A. Check one:

0) Health Care Business (as defined in 11 U.S.C. § 101(27A))
O Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
0) Railroad (as defined in 11 U.S.C. § 101(44))

C Stockbroker (as defined in 11 U.S.C. § 101(53A)}

CO Commodity Broker (as defined in 11 U.S.C. § 101(6)}

O Clearing Bank (as defined in 11 U.S.C. § 781(3))

IB None of the above

B. Check aif that apply
O Tax-exempt entity (as described in 26 U.S.C. §501}

C1 Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
CJ Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
http:/Awww.uscourts.gov/four-digit-national-association-naics-codes.

The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
$3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
operations, cash-flow statement, and federal income tax return or if any of these documents do not
exist, follow the procedure in 17 U.S.C. § 1116(1)(B).

The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

Acceptances of the plan were solicited prepetition from one or more classes of creditors, in

The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11

The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

3115
8. Under which chapter of the Check one:
Bankruptcy Code is the
debtor filing? C1 Chapter 7
A debtor who is a “small CD) Chapter 9
business debtor” must check jg
the first sub-box. A debtor as Chapter 11. Check all that apply.
defined in § 1182(1) who oO
elects to proceed under
subchapter V of chapter 11
(whether or not the debtor is a
“small business debtor”) must
check the second sub-box. oO
O Aplan is being filed with this petition.
oO
accordance with 11 U.S.C. § 1126(b).
(Officia) Form 201A) with this form.
oO
OO Chapter 12
9. Were prior bankruptcy HI No. — ~ —
cases filed by or against Oves.

the debtor within the last 8
years?

If more than 2 cases, attach a a,
separate list. District

District

When Case number

When Case number

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Voluntary Petition for Non-Individuals Filing for Bankruptcy

page 2
Debtor

10. Are any bankruptcy cases
pending or being filed by a

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Oberweis Dairy, Inc.

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Case number (if known)

Name

business partner or an
affiliate of the debtor?

List all cases. If more than 1,

attach a separate list

11.

Why is the case filed in
this district?

12.

= Statistical and administrative information
13.

14.

15.

16.

Does the debtor own or
have possession of any

real property or personal

property that needs
immediate attention?

ONo
B yes.
Debtor See Attachment Relationship
District When Case number, if known
Check all that apply:

H Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
preceding the date of this petition or for a longer part of such 180 days than in any other district.

OA bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

HB No
Oves Answer below for each property that needs immediate attention. Attach additional sheets if needed.

Why does the property need immediate attention? (Check ail that apply.)

O It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
What is the hazard?

O It needs to be physically secured or protected from the weather.

C1 It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).

D Other

Where is the property?

Number, Street, City, State & ZIP Code

Is the property insured?
CINo

O Yes. Insurance agency

Contact name

Phone

Debtor's estimation of
available funds

Check one:
® Funds will be available for distribution to unsecured creditors.

DO After any administrative expenses are paid, no funds will be available to unsecured creditors.

Official Form 201

Estimated number of 1-49 ® 1 000-5,000 0 25,001-50,000
creditors 01 50-99 0 5001-10,000 01 50,001-100,000
CO 100-199 C1 10,001-25,000 CO More than100,000
CI 200-999
Estimated Assets O $0 - $50,000 CO $1,000,001 - $10 million Ci $500,000,001 - $1 billion
CF $50,001 - $100,000 Wi $10,000,001 - $50 million D $1,000,000,001 - $10 billion
DD $100,001 - $500,000 C1 $50,000,001 - $100 million CJ $10,000,000,001 - $50 billion
1 $500,001 - $1 million 0 $100,000,001 - $500 million DJ More than $50 billion
Estimated liabilities C1 $0 - $50,000 D) $1,000,001 - $10 million DO $500,000,001 - $1 billion

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Debtor Oberweis Dairy, Inc. Case number (if known)
Name ~
1 $50,001 - $100,000 B® $10,000,001 - $50 million CO) $1,000,000,001 - $10 billion
O $100,001 - $500,000 1 $50,000,001 - $100 million [J $10,000,000,001 - $50 billion
DO $500,001 - $1 million 0 $100,000,001 - $500 million CD More than $50 billion

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Debtor

Oberweis Dairy, Inc.

Document

“Name

a Request for Relief, Declaration, and Signatures

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Case number (if known)

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or

imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 35771.

17. Declaration and signature

of authorized
representative of debtor

The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.

| have been authorized to file this petition on behalf of the debtor.

| have examined the information in this petition and have a reasonable belief that the information is true and correct.

| declare under penalty of perjury that the foregoing is true and correct.

Executed on Ute / Zoty
MM/

/DD/YYYY

Signatur#of d4uthorized representative of debtor

Title President

Adam Kraber

Printed name

18. Signature of attorney

Official Form 201

X Js! Howard L. Adelman

Signature of attorney for debtor

Howard L. Adelman, Esq. #0015458

Date 04/12/2024

MM/DD/YYYY

Printed name

Adelman & Gettleman, Ltd.

Firm name

53 West Jackson Boulevard
Suite 1050
Chicago, IL 60604

Number, Street, City, State & ZIP Code

Contact phone 312-435-1050 Email address

#0015458 IL

hla@ag-itd.com

Bar number and State

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Debtor Oberweis Dairy, Inc. Case number (if known)
Name

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United States Bankruptcy Court for the:

NORTHERN DISTRICT OF ILLINOIS

Case number (if known) Chapter 11

1 Check if this an
amended filing

FORM 201. VOLUNTARY PETITION

Pending Bankruptcy Cases Attachment

Debtor North Aurora Ice Cream, LLC __ Relationship te you Affiliate
District Northern District of Illinois When 4/10/24 «Case number, if known
Debtor The Oberweis Group, Inc. Relationship to you Affiliate
District Northern District of Illinois When 4/12/24 Case number, if known
Debtor Third Millennium Real Estate L.L.C. Relationship to you Affiliate
District Northern District of Illinois When 4/12/24 Case number, if known
Debtor TOGI Brands, LLC Relationship to you Affiliate
District Northern District of Illinois When 4/12/24 Case number, if known
Debtor TOGIREI,LLC ____ Relationship to you Affiliate
District Northern District of Illinois When _ 4/10/24 Easemumbel, knew

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